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             EXHIBIT 1
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U.S. Department of Justice
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Attorney for Federal Defendants


                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                   PENDLETON DIVISION

 BLUE MOUNTAINS BIODIVERSITY                         Case No.: 2:20-cv-02158-SU
 PROJECT, an Oregon non-profit corporation
                                                     CERTIFICATION OF DEFENDANT
             Plaintiff,                              U.S. FOREST SERVICE’S
                                                     ADMINISTRATIVE RECORD
                          v.
                                                     DECLARATION OF
 SHANE JEFFRIES, et al                               VERONICA TISCHER

            Federal Defendants.

I, Veronica Tischer, pursuant to 28 U.S.C § 1746, declare as follows:


1. I am a Paralegal Specialist for the U.S. Department of Agriculture-Forest Service. I have been

   employed by the Forest Service in the Pacific Northwest Regional Office since December 2020.

2. Under my direction and oversight, the Forest Service compiled and indexed the documents

   comprising its administrative record underlying the administrative tasks, activities, and

   constituent steps in which the agency has engaged to decide to implement the Walton Lake




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   Restoration Project on the Ochoco National Forest. The administrative record has been compiled

   in an electronic searchable format.

3. To the best of my knowledge and belief, the documents listed in the index are materials that have

   been considered, either directly or indirectly, by the relevant Forest Service officials in connection

   with their efforts in carrying out administrative tasks, activities, and constituent steps related to the

   Walton Lake Restoration Project on the Ochoco National Forest. Each document in the record is a

   true and correct copy of an original document located in Forest Service files.

4. The documents comprising the Administrative Record are on a thumb drive. The thumb drive

   contains an acronym list, index, and documents bates numbered AR 0001 – AR 11251.

I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.



Executed on this 24th day of March 2021.




                                                      _______________________________
                                                      VERONICA TISCHER
                                                      Paralegal Specialist
                                                      U.S.D.A. Forest Service
                                                      Pacific Northwest Region




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